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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF VIRGINIA

     KEVIN HARRIS,                                         )
                            PLAINTIFF,                     )
                                                           )
     v.                                                    )
                                                           )    Case No.:_______________
     FREIGHT HANDLERS, INC.                                )
     A NORTH CAROLINA CORPORATION,                         )    JURY TRIAL DEMANDED
                                                           )
     &                                                     )
                                                           )
     FHI, LLC                                              )
     A NORTH CAROLINA COMPANY,                             )
                                                           )
                            DEFENDANTS.                    )

                                                COMPLAINT

            COMES NOW the Plaintiff, by counsel, and respectfully moves this Honorable Court for a

     judgment and award of execution against the Defendants in the amount of NINE MILLION AND

     NO/100 DOLLARS ($9,000,000.00), as compensatory damages, his costs expended,

     pre-judgment and post-judgment interest, and such other and further relief as this Court may deem

     appropriate; and in support thereof, states as follows:

                                                   FACTS

            1.      The Plaintiff, Kevin Harris, is a resident of the Commonwealth of Virginia.

            2.      The Defendants, Freight Handlers, Inc. (FHI, Inc), and FHI, LLC, upon

     information and belief, are companies organized and existing under the laws of the state of North

     Carolina, and maintain corporate offices and headquarters in North Carolina, and are collectively

     referred to as the FHI defendants below.



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            3.      The defendant companies are in the business of supplying freight unloading

     services, distribution center services and warehouse operational services.

             4.     K-V-A-T Food Stores, Inc., doing business as “Food City” (hereafter “Food City”)

     is a Virginia company based in Abingdon, Virginia which operates retail grocery stores in several

     states, and operates a distribution center in Abington Virginia and employs staff and personnel to

     operate the Abingdon distribution center.

            5.       Beginning as early as 2008, Food City entered into an agreement with the FHI

     defendants, or one of them, to provide freight unloading and warehouse operational services at the

     Food City distribution center in Abingdon Virginia, and up until the relevant times outlined below,

     the agreement was modified and amended from time to time.

            6.       On May 14, 2018 the plaintiff was working in the scope of his employment for

     K-V-A-T Food Stores Inc., at the Food City distribution center at 26331 Hillman Highway in

     Abingdon, Virginia as a produce checker.

            7.       On May 14, 2018 Shane Matney was working within the scope of his employment

     for one of the FHI defendants handling freight loading and unloading, operating a motor power

     Yale brand forklift # 556 at the same facility above mentioned.

            8.      Shane Matney received forklift safety training from the FHI defendants prior to

     May 14, 2018 which included forklift operational safety techniques.

            9.       Despite the safety training, on May 14, 2018, while within the scope of his

     employment as an employee of either or both of the FHI defendants, Shane Matney operated the

     Yale forklift in violation of the forklift training he had received so as to suddenly move the forklift



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     into a collision with the Plaintiff, notwithstanding that Plaintiff was there and then walking in a

     direction away from the forklift Mr. Matney was operating.

             10.      A portion of the forklift collided with and ran over in the left lower leg of the

     plaintiff, fracturing the plaintiff’s lower leg and causing a major degloving injury to his foot.

             11.      A surveillance camera operated by Food City at the distribution center captured

     the forklift’s movements and the moment of collision, and reveal that Mr. Matney did not look

     behind his forklift as he reversed and did not follow safety training techniques, thus causing the

     collision with the Plaintiff.

             12.      The above described action is a civil action of which this Court has original

     jurisdiction under the provisions of 28 U.S.C. § 1332, in that it is a civil action between citizens of

     different states, with diversity of citizenship between the opposing parties, wherein the matter in

     controversy exceeds the sum or value of Seventh-Five Thousand and no/100 Dollars ($75,000.00),

     exclusive of interest and costs.

             13.     That at the time and place aforesaid, it was the duty of the FHI defendants, through

     its agents, servants and employees, to operate its vehicles with reasonable care and due regard for

     others, specifically including a lookout for any personnel of Food City known to be regularly

     working and walking through the loading and unloading areas of the distribution center.

             14.     That at the time and place aforesaid, notwithstanding said duties, the motorized

     forklift was operated by Defendants’ agent, servant or employee in a careless and negligent

     manner as alleged above, so that it collided with the Plaintiff with great force and violence causing

     the Plaintiff to suffer injury and damages herein.



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              15.   The FHI defendants stand responsible for the negligent acts of Defendants’

     employees and agents, including Shane Matney, under the legal doctrine of respondeat superior.

              16.   The FHI defendants must otherwise stand responsible for the acts as enunciated

     above.

              17.   Notwithstanding said duties, the FHI Defendants, through its agent, servant and

     employee, did then and there so recklessly, carelessly and negligently operate said equipment that

     it struck the Plaintiff. This collision was proximately caused by the Defendants’ violation of

     duties as aforesaid, and specifically the FHI defendants were negligent because their employee and

     agent Shane Matney:

                    a.      failed to keep a proper lookout, failed to watch in the direction of the

     forklift’s backing motion, and did not pay full attention to his surroundings as he reversed his

     forklift;

                    b.      failed to look behind his equipment before he moved, and accordingly did

     not operate said machinery at a reasonable speed;

                    c.      operated the forklift with a hooded sweatshirt with the hood up over his

     head, substantially diminishing his peripheral vision while backing his forklift;

                    d.      failed to give full time and attention to the operation of said machinery;

                    e.      failed to keep the machinery under proper control;

                    f.      operated the motorized machinery in a reckless manner.

              18.   As a direct and proximate result of the Defendants’ negligence as aforesaid, the

     Plaintiff sustained serious and permanent injuries, has been forced to incur substantial medical and

     hospital bills in an effort to be cured of his injury; has suffered and continues to suffer physical

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     pain and mental anguish; has incurred a loss of income and will suffer future loss of income and

     earning capacity; and has been and will in the future be hindered from attending to his personal and

     business affairs.

            WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

     in the amount of Nine Million Dollars ($9,000,000.00), together with pre-judgment interest

     allowable by Virginia law, computed from May 14, 2018, the costs of this proceeding, as well as

     such other and further relief as may be appropriate under the circumstances.

            Trial by jury is hereby requested.

                                                   KEVIN HARRIS


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